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                    EXHIBIT C
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No. 08-80736-Civ-Marra/Johnson

   JANE DOE #1 and JANE DOE #2

          v.

   UNITED STATES
   __________________________/



        JANE DOE #3 AND JANE DOE #4’S MOTION PURSUANT TO RULE 21 FOR
                              JOINDER IN ACTION

        COME NOW Jane Doe #3 and Jane Doe #4 (also referred to as “the new victims”), by and

   through undersigned counsel, to file this motion pursuant to Federal Rule of Civil Procedure 21

   to join this action, on the condition that they not re-litigate any issues already litigated by Jane

   Doe #1 and Jane Doe #2 (also referred to as “the current victims”). The new victims have

   suffered the same violations of their rights under the Crime Victims’ Rights Act (CVRA) as the

   current victims. Accordingly, they desire to join in this action to vindicate their rights as well.

   Because the new victims will not re-litigate any issues previously litigated by the current victims

   (and because they are represented by the same legal counsel as the current victims), the

   Government will not be prejudiced if the Court grants the motion. The Court may “at any time”

   add new parties to the action, Fed. R. Civ. P. 21. Accordingly, the Court should grant the

   motion. 1



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           As minor victims of sexual offenses, Jane Doe #3 and Jane Doe #4 desire to proceed by
   way of pseudonym for the same reasons that Jane Doe #1 and Jane Doe #2 proceeded in this
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                                     FACTUAL BACKGROUND

          As the Court is aware, more than six years ago, Jane Doe #1 filed the present action

   against the Government, alleging a violation of her rights under the CVRA, 18 U.S.C. § 3771.

   DE1. She alleged that Jeffrey Epstein had sexually abused her and that the United States had

   entered into a secret non-prosecution agreement (NPA) regarding those crimes in violation of her

   rights. At the first court hearing on the case, the Court allowed Jane Doe #2 to also join the

   action. Both Jane Doe #1 and Jane Doe #2 specifically argued that the government had failed to

   protect their CVRA rights (inter alia) to confer, to reasonable notice, and to be treated with

   fairness. In response, the Government argued that the CVRA rights did not apply to Jane Doe #1

   and Jane Doe #2 because no federal charges had ever been filed against Jeffrey Epstein.

          The Court has firmly rejected the United States’ position. In a detailed ruling, the Court

   concluded that the CVRA extended rights to Jane Doe #1 and Jane Doe #2 even though federal

   charges were never filed.      DE 189.     The Court explained that because the NPA barred

   prosecution of crimes committed against them by Epstein, they had “standing” to assert

   violations of the CVRA rights. Id. The Court deferred ruling on whether the two victims would

   be entitled to relief, pending development of a fuller evidentiary record. Id.

          Two other victims, who are in many respects similarly situated to the current victims,

   now wish to join this action. The new victims joining at this stage will not cause any delay and

   their joinder in this case is the most expeditious manner in which to pursue their rights. Because

   the background regarding their abuse is relevant to the Court’s assessment of whether to allow

   them to join, their circumstances are recounted here briefly.


   fashion. Counsel for the new victims have made their true identities known to the Government.
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                                         Jane Doe #3’s Circumstances

          As with Jane Doe #1 and Jane Doe #2, Jane Doe #3 was repeatedly sexually abused by

   Epstein. The Government then concealed from Jane Doe #3 the existence of its NPA from Jane

   Doe #3, in violation of her rights under the CVRA. If allowed to join this action, Jane Doe #3

   would prove the following:

           In 1999, Jane Doe #3 was approached by Ghislaine Maxwell, one of the main women

   whom Epstein used to procure under-aged girls for sexual activities and a primary co-conspirator

   in his sexual abuse and sex trafficking scheme. In fact, it became known to the government that

   Maxwell herself regularly participated in Epstein’s sexual exploitation of minors, including Jane

   Doe #3. Maxwell persuaded Jane Doe #3 (who was then fifteen years old) to come to Epstein’s

   mansion in a fashion very similar to the manner in which Epstein and his other co-conspirators

   coerced dozens of other children (including Jane Doe #1 and Jane Doe #2). When Jane Doe #3

   began giving Epstein a “massage,” Epstein and Maxwell turned it into a sexual encounter, as

   they had done with many other victims. Epstein then became enamored with Jane Doe #3, and

   with the assistance of Maxwell converted her into what is commonly referred to as a “sex slave.”

   Epstein kept Jane Doe #3 as his sex slave from about 1999 through 2002, when she managed to

   escape to a foreign country and hide out from Epstein and his co-conspirators for years. From

   1999 through 2002, Epstein frequently sexually abused Jane Doe #3, not only in West Palm

   Beach, but also in New York, New Mexico, the U.S. Virgin Islands, in international airspace on

   his Epstein’s private planes, and elsewhere.

          Epstein also sexually trafficked the then-minor Jane Doe, making her available for sex to

   politically-connected and financially-powerful people. Epstein’s purposes in “lending” Jane Doe

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   (along with other young girls) to such powerful people were to ingratiate himself with them for

   business, personal, political, and financial gain, as well as to obtain potential blackmail

   information.

          One such powerful individual that Epstein forced then-minor Jane Doe #3 to have sexual

   relations with was former Harvard Law Professor Alan Dershowitz, a close friend of Epstein’s

   and well-known criminal defense attorney.       Epstein required Jane Doe #3 to have sexual

   relations with Dershowitz on numerous occasions while she was a minor, not only in Florida but

   also on private planes, in New York, New Mexico, and the U.S. Virgin Islands. In addition to

   being a participant in the abuse of Jane Doe #3 and other minors, Deshowitz was an eye-witness

   to the sexual abuse of many other minors by Epstein and several of Epstein’s co-conspirators.

   Dershowitz would later play a significant role in negotiating the NPA on Epstein’s behalf.

   Indeed, Dershowitz helped negotiate an agreement that provided immunity from federal

   prosecution in the Southern District of Florida not only to Epstein, but also to “any potential co-

   conspirators of Epstein.” NPA at 5. Thus, Dershowitz helped negotiate an agreement with a

   provision that provided protection for himself against criminal prosecution in Florida for

   sexually abusing Jane Doe #3. Because this broad immunity would have been controversial if

   disclosed, Dershowitz (along with other members of Epstein’s defense team) and the

   Government tried to keep the immunity provision secret from all of Epstein’s victims and the

   general public, even though such secrecy violated the Crime Victims’ Rights Act.

          Ghislaine Maxwell was another person in Epstein’s inner circle and a co-conspirator in

   Epstein’s sexual abuse. She was someone who consequently also appreciated the immunity

   granted by the NPA for the crimes she committed in Florida. In addition to participating in the

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   sexual abuse of Jane Doe #3 and others, Maxwell also took numerous sexually explicit pictures

   of underage girls involved in sexual activities, including Jane Doe #3.       She shared these

   photographs (which constituted child pornography under applicable federal laws) with Epstein.

   The Government is apparently aware of, and in certain instances possesses some of these

   photographs.

          Perhaps even more important to her role in Epstein’s sexual abuse ring, Maxwell had

   direct connections to other powerful individuals with whom she could connect Epstein. For

   instance, one such powerful individual Epstein forced Jane Doe #3 to have sexual relations with

   was a member of the British Royal Family, Prince Andrew (a/k/a Duke of York). Jane Doe #3

   was forced to have sexual relations with this Prince when she was a minor in three separate

   geographical locations: in London (at Ghislaine Maxwell’s apartment), in New York, and on

   Epstein’s private island in the U.S. Virgin Islands (in an orgy with numerous other under-aged

   girls). Epstein instructed Jane Doe #3 that she was to give the Prince whatever he demanded and

   required Jane Doe #3 to report back to him on the details of the sexual abuse. Maxwell

   facilitated Prince Andrew’s acts of sexual abuse by acting as a “madame” for Epstein, thereby

   assisting in internationally trafficking Jane Doe #3 (and numerous other young girls) for sexual

   purposes.

          Another person in Epstein’s inner circle of friends (who becomes apparent with almost

   no investigative effort) is Jean Luc Brunel. Epstein sexually trafficked Jane Doe #3 to Jean Luc

   Brunel many times. Brunel was another of Epstein’s closest friends and a regular traveling

   companion, who had many contacts with young girls throughout the world. Brunel has been a

   model scout for various modeling agencies for many years and apparently was able to get U.S.

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   passports for young girls to “work” as models. He would bring young girls (ranging to ages as

   young as twelve) to the United States for sexual purposes and farm them out to his friends,

   especially Epstein. Brunel would offer the girls “modeling” jobs. Many of the girls came from

   poor countries or impoverished backgrounds, and he lured them in with a promise of making

   good money. Epstein forced Jane Doe #3 to observe him, Brunel and Maxwell engage in illegal

   sexual acts with dozens of underage girls. Epstein also forced Jane Doe #3 to have sex with

   Brunel on numerous occasions, at places including Epstein’s mansion in West Palm Beach, Little

   St. James Island in the U.S. Virgin Islands (many including orgies that were comprised of other

   underage girls), New York City, New Mexico, Paris, the south of France, and California.

          Epstein also trafficked Jane Doe #3 for sexual purposes to many other powerful men,

   including numerous prominent American politicians, powerful business executives, foreign

   presidents, a well-known Prime Minister, and other world leaders. Epstein required Jane Doe #3

   to describe the events that she had with these men so that he could potentially blackmail them.

          The Government was well aware of Jane Doe #3 when it was negotiating the NPA, as it

   listed her as a victim in the attachment to the NPA. Moreover, even a rudimentary investigation

   of Jane Doe #3’s relationship to Epstein would have revealed the fact that she had been

   trafficked throughout the United States and internationally for sexual purposes. Nonetheless, the

   Government secretly negotiated a non-prosecution agreement with Epstein precluding any

   Federal prosecution in the Southern District of Florida of Epstein and his co-conspirators. As

   with Jane Doe #1, and Jane Doe #2, the Government concealed the non-prosecution agreement

   from Jane Doe #3 – all in violation of her rights under the CVRA – to avoid Jane Doe #3 from

   raising powerful objections to the NPA that would have shed tremendous public light on Epstein

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   and other powerful individuals and that would likely have been prevented it from being

   concluded in the secretive manner in which it was.

                                     Jane Doe #4’s Circumstances

          If permitted to join this action, Jane Doe #4 would allege, and could prove at trial, that

   she has CVRA claims similar to those advanced by Jane Doe #1 and Jane Doe #2, based on the

   following:

          As with the other Jane Does, Jane Doe #4 was repeatedly sexually abused by Epstein. In

   or around the summer of 2002, Jane Doe #4, an economically poor and vulnerable sixteen-year-

   old child, was told by another one of Epstein’s underage minor sex abuse victims, that she could

   make $300 cash by giving an old man a massage on Palm Beach. An acquaintance of Jane Doe

   #4 (also a minor sexual abuse victim of Epstein) telephoned Epstein and scheduled Jane Doe #4

   to go to Epstein’s house to give him a massage. During that call, Epstein himself got on the

   phone (a means of interstate communication) with Jane Doe #4, asking her personally to come to

   his mansion in Palm Beach.

          Jane Doe #4 then went to Epstein’s mansion and was escorted upstairs to Epstein’s large

   bathroom by one of Epstein’s assistants. Shortly thereafter Jeffrey Epstein emerged and lay face

   down on the table and told Jane Doe #4 to start massaging him. Epstein asked Jane Doe #3 her

   age and she told him she had recently turned sixteen. Epstein subsequently committed illegal

   sexual acts against Jane Doe #4 on many occasions.

          Epstein used a means of interstate communication (i.e., a cell phone) to arrange for these

   sexual encounters. Epstein also frequently travelled in interstate commerce (i.e., on his personal

   jet) for purposes of illegally sexually abusing Jane Doe #4.

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    January.   In the meantime, however, counsel for the victims believe that it is no longer

    appropriate to delay filing this motion and accordingly file it at this time.         Because the

    Government is apparently opposing this motion, Jane Doe #3 and Jane Doe #4 have described

    the circumstances surrounding their claims so that the Court has appropriate information to rule

    on the motion.

                                              CONCLUSION

           Jane Doe #3 and Jane Doe #4 should be allowed to join this action, pursuant to Rule 21

    of the Federal Rules of Civil Procedure. Their joinder should be conditioned on the requirement

    that they not re-litigate any issues previously litigated by Jane Doe #1 and Jane Doe #2.      A

    proposed order to that effect is attached to this pleading.

           DATED: December 30, 2014

                                                           Respectfully Submitted,

                                                           /s/ Bradley J. Edwards
                                                           Bradley J. Edwards
                                                           FARMER, JAFFE, WEISSING,
                                                           EDWARDS, FISTOS & LEHRMAN, P.L.
                                                           425 North Andrews Avenue, Suite 2
                                                           Fort Lauderdale, Florida 33301
                                                           Telephone (954) 524-2820
                                                           Facsimile (954) 524-2822
                                                           E-mail: brad@pathtojustice.com

                                                           And

                                                           Paul G. Cassell
                                                           Pro Hac Vice
                                                           S.J. Quinney College of Law at the
                                                             University of Utah
                                                           332 S. 1400 E.
                                                           Salt Lake City, UT 84112
                                                           Telephone: 801-585-5202

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                                                     Facsimile: 801-585-6833
                                                     E-Mail: cassellp@law.utah.edu

                                                     Attorneys for Jane Doe #1 and Jane Doe #2



                                   CERTIFICATE OF SERVICE

        I certify that the foregoing document was served on December 30, 2014, on the following

    using the Court’s CM/ECF system:

    Dexter Lee
    A. Marie Villafaña
    500 S. Australian Ave., Suite 400
    West Palm Beach, FL 33401
    (561) 820-8711
    Fax: (561) 820-8777
    E-mail: Dexter.Lee@usdoj.gov
    E-mail: ann.marie.c.villafana@usdoj.gov

    Attorneys for the Government

                                       /s/ Bradley J. Edwards




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